Case 2:23-cv-05146-MAK Document 8 Filed 03/06/24 Dit Fr Zt

Response to Stephen B. Harris Esq. of HARRIS AND HARRIS Sanctions
Order, 12(b)(6) motions & violation of rules.
No.2:23-cv 05146-GEKP

Plaintiff Peter Sauers Pro-se Plaintiff

Vs.

Defendants Oak Property Management, Ashley Management Co.,
County Builders, Mike Meister, and Kevin Reilly

Rule 11 does not permit non- lawyers to be Sanctioned and
cannot be sanctioned for this reason as a Pro-se Plaintiff. “Sherar
v. Cullen, 481 F. 2d 946 (1973)” Federal Rules of Evidence the
American Anti-Corruption Act makes it illegal to purchase political
influence as Defendants Oak Property Management, Ashley
Management Co., County Builders, Mike Meister, and Kevin Reilly,
engaged / employed Township officials and one Judge in a
Conflict of interest the Defendants. Township administration
aware of the Unprofessional conduct, Conflict of interest,
Violations of state laws, Federal laws by means that it crosses
over from criminal activity of past Township administration
Defendants had full knowledge and took part in the criminal

activity.

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Township administration and Defendants fully aware of the
Unprofessional conduct, Conflict of interest, Violations of state
faws, Federal Jaws by means that crossed over from criminal
activity of past Township administration. Moreover 1.2(d)
Affirmation of public offices was abuse of police powers for the
Defendant’s “Rule 1.4, shall consult with the client as to how they
are to be pursued. A lawyer may take such action on behalf of the
client as is impliedly authorized to conduct the representation. A
lawyer shall abide by a client's decision whether to settle a
matter. (b) representation of a client, including representation by
appointment, does not constitute an endorsement of the client's
political, economic, social, or moral views or activities”. The New
Township administration and Defendants had responsibilities to
the Plaintiff. Sherar v. Cullen, 481 F. 2d 946 (1973) "There can
be no sanction or penalty imposed upon one because of his
exercise of constitutional rights." Plaintiff/ Victim notes Honorable
Judge Gene E.K. Pratter acknowledged that a possible violations
of the 14** Amendment in Notices moving this forward without

prejudice to lower courts. Look for the original counsel actions.

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Marbury v. Madison, 5 U.S. (2 Cranch) 137, 180 (1803) "... the
particular phraseology of the constitution of the United States
confirms and strengthens the principle, supposed to be essential
to all - written constitutions, that a law repugnant to the
constitution- is void, and that courts, as well as other
departments, are bound by that instrument.", Gibson, 355 U. S.
41 (1957). The complaint should not be dismissed unless it
appears that Plaintiff could "prove no set of facts in support of his
claim which would entitle him to relief." Conley v. Gibson,

supra, at 355 U. S. 45-46. With these rules in mind, we turn to
an examination of the allegations of Plaintiff complaint”. The
Honorable Judge Gene E.K. Pratter now has knowledge of fraud
on the court in (1956) WALKER v. CITY OF HUTCHINSON ET

AL. No. 13. Supreme Court of United States. Argued October 15-
16, 1956. Decided December 10, 1956. The notice published in
the official newspaper was not sufficient notice to satisfy the
requirements of the Due Process clauses of both Federal and
State Constitutions” Defendants required to notification to

Plaintiff stated by J. Pratter.

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Department of Labor and Industry opened an investigation into
the Lower Southampton Zoning and Building Department because
of the findings from the Keystone Report, which reviewed 26
representative sample building and zoning permits for
irregularities and compliance with department procedures. 531
West Street Road Project and Oak Properties/Ashley Property
Management explicitly named in the report, the Defendant’s all
Defendant’s took part in “fraud on the court.” The malpractice of
Attorneys’ Government Officials for Defendants activity on
political channels has a conflict-of-interest. Actions date back to
historical precedents in suits at common [aw allowing the Seventh
Amendment. Violations of duties of Defendants with help from
accomplices. Requests relief in civil damages and punitive
damages heard under the Seventh Amendment. :
The Seventh Amendment provides that in suits at common law,
where the value in controversy shall exceed twenty dollars, the
right of trial by jury shall “be preserved.” Honorable Gene E.K.
Pratters confirming that there are certain facts after convictions in

her court by accomplice as argument of original counsel.

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Anderson v. Warner, 451 F.3d 1063, 1067 (9th Cir. 2006). It
provides that”: “[e]very person who, under color of any statute,
ordinance, regulation, custom, or usage, of any State or Territory
or the District of Columbia, subjects, or causes to be subjected,
any citizen of the United States or other person within the
jurisdiction thereof to the deprivation of any rights, privileges, or
immunities secured by the Constitution and laws, shall be liable
to the party injured in an action at law, suit in equity, or other
proper proceeding for redress”. City of Dallas v Mitchell, 245 S.W.
944 “To take away all remedy for the enforcement of a right is to
take away the right itself. The remedy for the enforcement in
filings is Constitutional Rights, Davis v. Wechsler, 263 US 22, 24.
“Where rights secured by the Constitution are involved, there can
be no rule making or legislation which would abrogate them.” All
remedies of Constitutional Rights of Plaintiff claims Fraud, Nudd
v. Burrows, 91 U.S 426. “Fraud vitiates everything” Boyce v.
Grundy, 3 Pet. 210 "Fraud vitiates the most solemn contracts,
documents and even judgments." Original counsel involved in

fraud on the court.

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EXHIBT A: I took as a threat with Conflict of interest, Fraud on
the court, Fraud, obstruction of justice and blatant lies though out
for a stall to get to the Statute of limitations a matter of fact been
sending motions every couple month from day one and relief has
always had legal remedies. Please institute my Constitutional
Rights under the Seventh Amendment, I also request that
Stephen B. Harris Esq. release all necessary documents of his
clients under the Rule 26(a): Parties are required to share
evidence supporting their case without being requested by the

opposite party. Public documents.

EXHIBT B HAINES v. KERNER ET AL. Plaintiff: “Allegations, we
conclude that he is entitled to an opportunity to offer proof. The
judgment is reversed, and the case is remanded for further
proceedings consistent herewith”. Legal conclusions should entitle
Plaintiff to an opportunity to offer proof also, in full use of
outstanding Complain, Motions (s), Witness, and Evidence. trial
by jury shall, “be preserved in common law and multiple

constitutional rights.

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Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007), was a
decision of the Supreme Court of the United States involving
antitrust law and civil procedure. established that parallel
conduct, absent evidence of agreement, pleading requirement for
civil cases. Requiring for Plaintiff include enough facts in their
complaint to make it plausible, not merely possible. Plaintiff
meets his burden from action recognized in Honorable Gene E.K.
Pratters court with accomplices and Evidence from other cases

Res judicata also in common law and Constitutional Rights.

Note: Full OBJECTION to Stephen B. Harris Esq. of HARRIS
HARRIS Sanctions Order, 12(b)(6) Motion / Motions and his full
Response his use of original counsel actions, rehashed.
Arguments to a jury are ongoing to date and involve ethical
misconduct conduct by Attorneys that are or were officers of the
court relevant to The Court of Common Pleas, B.Platsky v.

CIA, 953 F.2d 25, 26 28 (2nd Cir. 1991), "Court errs if court
dismisses pro se litigant without instruction of how pleadings are

deficient and how to repair pleadings."

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Plaintiff reserves the right to amend and notes in this are all in
original actions from lower courts now hold oxymorons relevant
to this case and U.S.C. Fraud on the court” statute (28 § 2111),
which requires courts to review cases for errors of law, Prejudicial
error mistake about the law, court procedures that causes
substantial harm to the Plaintiff. Victim of crimes have Rights 34
U.S. Code § 20141 - Services to victims is requested now in this
Court. Fundamental fairness in fair procedures for Equal
protection. I’m requesting help in preparing an oral and/or
written victim impact statement detailing the physical,
psychological, and economic effects of the crime, which will be
considered by court. Uphold my constitutional rights taken by
Defendants associated whit action of John Waltman, Michael! J.
Savona, Esq Township Solicitor, Michael E. Peters Esq on the bord
for land transactions in Bucks County, Robert P. Hoopes Esq. Rule
7.1 will not remove jurisdiction of Constitutional Rights of rights,
with Fraud and error in procedural History. Defendants are not

above the law of Plaintiff rights.

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JUNE 17, 2016, BEFORE: THE HONORABLE GENE E.K. PRATTER,
J, PRETRIAL CONFERENCE APPEARANCES: PETERS SAUERS Pro
Se Plaintiff EASTBURN AND GRAY, P.C. For Defendant MICHAEL E.
PETERS, ESQUIRE / (employed by Oak Property Management,
Ashley Management Co., County Builders, Mike Meister, and Kevin

Reilly}. (Omission of Council to the Court). (Tc).

THE COURT Peters, I strongly recommend that you and your
colleagues,

Eastburn & Gray, call upon the Bar Association, the real
estate MR. PETERS: I'm the chair of the Real Estate
Committee so I'm happy to check into that, Your Honor.

THE COURT: Would you, please --

MR. PETERS: I will.

THE COURT: -- invite Mr. Sauers to meet with an

independent lawyer interested in doing little pro bono good
service?

MR. PETERS: I will, Your Honor.

THE COURT: To walk him through some of the

technical features of real estate law and municipal zoning law
that appear to be matters of great concern to Mr. Sauers.
MR. PETERS: I'm pleased to do so.

MR. SAUERS: And thank you, Mr. Peters.

THE COURT: What?

MR. SAUERS: I said, "Thank you, Mr. Peters."

THE COURT: And I would say do that sooner than

later, because if you can save Mr. Sauers the work of going
through and trying to draft an Amended Complaint, that's good
for everybody.

Original Council lied to HONORABLE GENE E.K. PRATTER, Federal
Authorities, Judges, and other officials. Violating Pro Se Plaintiffs
Constitutional Rights. HONORABLE GENE E.K. PRATTER now has a
second bite at the apple with Plaintiffs Seventh Amendment, A
Victim of crimes is eligible for economic effects of the crime in
civil damages. Stephen B. Harris Esq is doubling down on Original
Council. A. Courts 12(b)(6) have been dismissed in similar cases.

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DiSarrio v. Mills, 711 So.2d 1355 (Fla. 2d DCA 1998) Unsworn
argument by counsel simply “is not evidence."

Verification PLAINTIFF/ PETER SAUERS Pro-se the Plaintiff
verifies that he is representing himself in this action, and that the
statements made in the forgoing is true and correct to the best of
his knowledge, information and belief and the testimony and
what’s on record. He understands that false statements made
herein are subject to the penalties of law. Plaintiff reserves the

right to amend.
Plaintiff Peter Sauers Pro-se Plaintiff

32 N. Westview Avenue Feasterville, PA 19053
215 805-2421 Cell - Home 215 396-6811 Date 2 24 2024

\ Filed: United States District Court Eastern District of
Pennsylvania

James A. Byrne U.S. Courthouse. 601 Market Street.
Philadelphia, PA

I HEREBY CERTIFY that a true and correct copy and copies of the
foregoing will served upon Stephen B. Harris Esq. of HARRIS AND
HARRIS 1760 Bristol Rd, Warrington, PA 18976 Phone: (215)
343-9000 US mail.

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